         Case 1:22-cv-00323-CWD Document 21 Filed 12/15/22 Page 1 of 2




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Attorneys for Defendants


               UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO


  GERARD AND HEATHER ANN HART                            Case No. 1:22-cv-0323-CWD
  LIVING TRUST; TRUSTEE GERALD J.
  HART, solely in his capacity as the Trustee of
  the Gerard and Heath Hart Living Trust;
  TRUSTEE HEATH ANN HART, solely in
  her capacity as Trustee of the Gerard and              MOTION TO WITHDRAW AS
  Heath Ann Hart Living Trust,                           COUNSEL OF RECORD

                        Plaintiffs,

         vs.

  LEGENDS DEVELOPMENT COMPANY, a
  Wyoming Corporation; and GARY J.
  ENGMAN, an individual,

                      Defendants.


       COMES NOW the attorney of record for the Defendants in the above-entitled action, Bren E.

Mollerup of Benoit, Alexander, Mollerup & Danielson, PLLC, and hereby moves the Court for leave

to withdraw as attorney of record in the above-entitled matter. This Motion is made pursuant to Dist.

Idaho Loc. Civ. R. 83.6(c) and is made for the reason that the attorney client relationship has suffered

an irretrievable breakdown and counsel can no longer continue representation in this matter.




MOTION TO WITHDRAW AS COUNSEL OF RECORD - 1
         Case 1:22-cv-00323-CWD Document 21 Filed 12/15/22 Page 2 of 2




       The last known address of the Defendants is P.O. Box 137, Bellevue, ID 83313-0137.

        DATED this 15th day of December, 2022.

                                        BENOIT, ALEXANDER, MOLLERUP
                                             & DANIELSON, PLLC

                                                                          Digitally signed by Bren E.
                                             Bren E. Mollerup             Mollerup
                                                                          Date: 2022.12.15 13:29:31 -07'00'
                                        By
                                                        Bren E. Mollerup
                                             Attorneys for Defendants


                                    CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of December, I caused a true and correct copy of the foregoing
MOTION TO WITHDRAW AS COUNSEL OF RECORD to be served upon the following
attorneys in the following manner:

 Edward A. Lawson                                          Hand Delivered
 Jared C. Kimball                                          U.S. Mail
 LAWSON LASKI CLARK, PLLC                                  Fax (208) 725-0076
 P.O. Box 3310                                             Email
 Ketchum, ID 83340-3310                                    Electronic Court Filing
 (Attorneys for Plaintiff)                                 efiling@lawsonlaski.com

                                                                        Digitally signed by Bren E.
                                         Bren E. Mollerup               Mollerup
                                                                        Date: 2022.12.15 13:29:42 -07'00'

                                                        Bren E. Mollerup




MOTION TO WITHDRAW AS COUNSEL OF RECORD - 2
